Case 1:19-cv-05549-GBD-KNF Documen t16 Filed 06/23/20 Page 1of 4

Carolyn Buff

Hon. Judge B. Daniels 11 Rue Sedaine
_ a St rags a
France
7
New York, N.Y 1000 carolynjbuff@yahoo.com

Case: 195549. USA v. Buff June 22 2020

Your Honor,

o no more than once every ten years—and

| googled myself-- something | d |
cecovmadidhae thao we : rt. |am attaching an email

discovered that there was a case pending against me before your cou
of my correspondence with PACER indicating that they have yet to give me access.

A friend with access, however, informed me earlier today that a “Clerk's Certificate of default”
was issued against me on June 15 2020. This was confirmed by the SDNY Clerk’s Office. My
friend also told me that the Attorney-General’s Office claims that it served notice on me on
August 19 2019 at 340 Riverside Drive, New York, N.Y 10025. This too was confirmed by the

Clerk’s office.

| have not lived in the United States since 1993. The government is aware of this as my tax
returns give my current location for the relevant tax year. Over the period at issue, | have lived
and worked in Haiti, Sierra Leone, Tanzania and the Netherlands. From 2016 through 2019, |

lived in Switzerland. At the moment, | am living in France.

The address used by the Attorney-General’s Office was my father’s address. | did, at times, use
that address as a mailing address particularly when | was working in countries with no
functioning mail service. However, my father passed away on July 4 2018, and my father’s
second wife, Lenore Nemeth, has barred my access to the apartment since then. Indeed, |am
surprised that a doorman would have accepted service for me as Ms. Nemeth specifically told
them she would not hold or transmit mail for me.

| would therefore request that you re-open this case and provide me with time necessary to
access the file against me and consult with an attorney.

Best regards, Carolyn Buff

 
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pucermall a/psc.uscourts. gov

PACERMAIL/SAT/AO/USCOURTS

/o:-Carolyn Buff

Unfortunately, this email address and the date of birth you provided does not match the
account. You will need to use the activation token that we mailed to you via US Mail.

Thank you,
Les

PACER Service Center
Phone: 210-301-6440

Toll Free: 800-676-6856
For Frequently Asked Questions: http://www.pacer.gov/psc/hfaq.html

For Account Information: https://www.pacer.gov/psco/cgi-bin/psclogin.pl

From: Carolyn Buff <carolynjbuff@yahoo.com>
Sent: Friday, June 12, 2020 2:02 PM

To: PACERMAIL/SAT/AO/USCOURTS <pacermail@psc.uscourts.gov>
Subject: Re: Account 6404426

Thank you for your message

Grandmother's maiden name: Schless
Father's middle name: Milton

Regards, Carolyn

On Monday, June 1, 2020, 11:37:30 PM GMT+2, PACERMAIL/SAT/AO/USCOURTS
<pacermail@psc.uscourts.gov> wrote:

Due to current widespread health conditions, we are temporarily providing email accommodations for
activation token delivery. To verify your account, please provide via reply to this email

Answer to account security questions:

What is your grandmother's maiden name?
What is your father's middle name?

Date of Birth on account

Thank you,
Les

PACER Service Center
Phone: 210-301-6440
Toll Free: 800-676-6856

 
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cer.gov/psc/hfag.htm!

vestions: http://www.pa |
/psco/cgi-bin/psclogin.p!

For Frequently Asked Q
ps://www.pacer gov

For Account Information: htt

From: Carolyn Buff <carolynibuff@yahoo.com-

Sent: Friday, May 29, 2020 2:22 PM | .
To: PACERMAIL/SAT/AO/USCOURTS <pacermail@psc.uscourts gov

Subject: Re: Account 6404426

Dear Judi,

Thanks for this response. Both my credit cards were rejected, |
problem is that | will no longer be at the mailing address | provided

mailing address?
Regards, Carolyn

On Friday, May 29, 2020, 09:18:54 PM GMT+2, PACERMAIL/S
<pacermail@psc.uscourts gov wrote:

AT/AO/USCOURTS

Good day,
Credit card validation for instant access is conducted through the Address Verification System
(AVS) credit card network. AVS is a system used to verify the identity of the person claiming to

own the credit card. The AVS is designed to check the billing address of the credit card
rds using different AVS codes to validate this

provided. Many merchants will accept credit ca
federal agency and because of our complicated

same credit card. PACER Service Center is a
billing process and procedures, our validation is different than most merchanis.

Unfortunately, if a foreign credit card cannot be validated through the credit card network, the

only option available is to wait to receive the authentication token in the regular U.S. mail.

Please allow 7 - 10 for delivery. Once the account has been activated you may add a credit
Manage My Account at our home pagewww.pacer.gov.

card for automatic billing by logging into
Click the Payments tab>Manage Recurring Payments and enter a credit card for future billing.

 

Thank you,
Judi

PACER Service Center
Phone: 210-301-6440

Toll Free: 800-676-6856
For Frequently Asked Questions: http://www.pacer.gov/psc/hfag.htm!

For Account Information: https://www.pacer.gov/psco/cgi-bin/psclogin pl

 

From: Carolyn Buff <carolynjbuff@yahoo.com>

Sent: Thursday, May 28, 2020 1:07 PM
To: PACERMAIL/SAT/AO/USCOURTS <pacermail@psc.uscourts.gov>

Subject: Account 6404426

 

Dear Sir/Madam,

 

 

 
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O

| am trying to pay for instant activation of my acc
failed. | have tried two different credit cards, one

payment fails even though my banks tell me there is not

accepted when | registered.

Thanks Carolyn

Settings

PACERMAIL/SAT/AO/USCOURTS

pacermail(@psc.uscourts.g0v
(210) 301-6440
+ Add to contacts

 

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ount but keep getting messages saying that my payment

American and one Swiss, several times. Each time the
hing wrong with the card and the Swiss card was
